
943 So.2d 245 (2006)
Daniel Ricardo SALAZAR, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D06-1062.
District Court of Appeal of Florida, Third District.
November 8, 2006.
Daniel Ricardo Salazar, in proper person.
Charles J. Crist, Jr., Attorney General, for appellee.
Before GERSTEN, GREEN, and RAMIREZ, JJ.
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.850. On appeal from a summary denial, this Court must reverse unless the post-conviction record shows conclusively that the appellant is entitled to no relief. See Fla. R.App. P. 9.141(b)(2)(A), (D).
Because the record now before us fails to make the required showing, we reverse the order and remand for a hearing or for the attachment of record excerpts conclusively showing that the appellant is not entitled to any relief. See Fla. R.App. P. 9.141(b)(2)(D).
Reversed and remanded for further proceedings.
